                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE

   TRACTOR SUPPLY COMPANY,                           )
                                                     )
                  Plaintiff,                         )
                                                     )    Case No. 3:21-cv-00619
   v.                                                )
                                                     )    Judge William Campbell
   ACE AMERICAN INSURANCE                            )    Magistrate Judge Holmes
   COMPANY, UNIFIRST CORPORATION                     )
   and ESIS, INC.,                                   )    JURY DEMANDED
                                                     )
                  Defendants.                        )

                      SECOND MODIFIED CASE MANAGEMENT ORDER

        Pending before the Court is Plaintiff’s motion to amend certain case management deadlines

(Docket No. 144), which is represented to be unopposed and is therefore GRANTED. Based on the

parties’ agreed-upon extensions (see Docket No. 145), and for the reasons requested in the motion, the

case management schedule and plan is modified as follows:

        1.    Plaintiff must identify and disclose all experts and reports by no later than November 28,

2022. Defendant must identify and disclose all experts and reports by no later than December 27, 2022.

Expert depositions must be completed by no later than January 17, 2023.         All other provisions for

expert disclosures and discovery remain unchanged.

        2.    The deadline for filing dispositive motions is extended to March 1, 2023. Responses

must be filed within 28 days of the filing of the motion and optional replies may be filed within 14 days

of the filing of the response. Given the current trial date, no further extensions of these deadlines

will be granted. All other provisions for dispositive motions, including briefing page limits and

restrictions on motions for partial summary judgment, remain unchanged.




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       3.      All other case management deadlines and provisions found in prior orders and not

modified herein remain in full force and effect.


            It is so ORDERED.




                                                   BARBARA D. HOLMES
                                                   United States Magistrate Judge




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